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 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                      )   Case No.: 1:15CR00209 LJO-SKO
10   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
11                  Plaintiff,                        )   CONTINUE THE STATUS
                                                      )   CONFERENCE
12          v.                                        )
                                                      )
13   ROBIN LEE,                                       )
                                                      )
14                  Defendant.                        )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
16   DROZD AND BRIAN K. DELANEY, ASSISTANT UNITED STATES ATTORNEY:

17          COMES NOW Defendant, ROBIN LEE by and through her attorney of record, Virna L.

18   Santos, hereby requesting that the status conference hearing currently set for September 6, 2016

19   be continued to September 19, 2016 to coincide with the other remaining co-defendant LaBrea

20   Davis’ status conference.

21          From January 2016 until May 2016, defendant Lee was unavailable to assist in her

22   defense following her arrest and transport back to this district and gave birth to her son

23   prematurely in late April. Following her return to the jurisdiction, the parties have been

24   diligently discussing resolution of this matter. Nonetheless, there have been significant

25   limitations in Ms. Lee’s availability and focus to address this matter due to her premature son’s

     medical needs. Additional time is required for investigation and plea negotiations that the parties


                      Stipulation and Proposed Order to Continue Status Conference
                                                   1
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 1   believe will result in resolution of this matter without the need for trial. Since co-defendant

 2   Davis has also recently entered the case, joining their case tracks would ensure efficiency and

 3   judicial economy. Finally, undersigned counsel is unavailable to appear on September 6, 2016

 4   and requests this continuance to be present on September 19, 2016 to set a trial date, if plea

 5   negotiations are not fruitful. I have spoken to AUSA Brian K. Delaney, who has no objection to

 6   continuing this hearing for two weeks and joining the two remaining defendants’ case schedules.

 7            The parties also agree that the delays resulting from the continuance shall be excluded in

 8   the interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 9            IS SO STIPULATED.

10                                                                 Respectfully Submitted,

11   DATED: August 24, 2016                                        /s/________________________
                                                                   VIRNA L. SANTOS
12                                                                 Attorney for Defendant
                                                                   ROBIN LEE
13

14

15   DATED: August 24, 2016                                        /s/________________________
                                                                   BRIAN K. DELANEY
16                                                                 Assistant U.S. Attorney

17

18
                                                   ORDER
19
              The status conference hearing currently set for September 6, 2016 is hereby continued to
20
     September 19, 2016.
21

22   IT IS SO ORDERED.
23
     Dated:     August 28, 2016                                    /s/   Sheila K. Oberto              .
24                                                      UNITED STATES MAGISTRATE JUDGE

25




                       Stipulation and Proposed Order to Continue Status Conference
                                                    2
